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 1   ALEXANDER G. CABECEIRAS, ESQ.
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     APPEARANCE PRO HACE VICE
 6
 7                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
                                    SAN FRANCISCO DIVISION
 9
     ---------------------------------------------------------X
10
      MAURO BOTTA,
11                                     Plaintiff,                 Civil Case No: 3:18-cv-2615
12
          -against-                                               DECLARATION OF
13                                                                ALEXANDER G.
14                                                                CABECEIRAS IN
      PRICEWATERHOUSECOOPERS LLP,                                 SUPPORT OF
15                                                                PLAINTIFF’S
                                      Defendants.                 OPPOSITION TO
16
                                                                  DEFENDANT
17                                                                PRICEWATERHOUSECO
                                                                  OPERS LLP’S NOTICE OF
18                                                                MOTION FOR SUMMARY
19                                                                JUDGMENT

20                                                                Judge: Hon. Richard Seeborg
                                                                  Hearing Date: March 7, 2019
21
                                                                  Time: 1:30 p.m.
22   ---------------------------------------------------------X
23    DECLARATION OF ALEXANDER G. CABECEIRAS IN SUPPORT OF PLAINTIFF’S
       OPPOSITION TO DEFENDANT PRICEWATERHOUSECOOPERS LLP’S MOTION
24                        FOR SUMMARY JUDGMENT
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      DECLARATION OF ALEXANDER G. CABECEIRAS IN SUPPORT OF PLAINTIFF’S
       OPPOSITION TO DEFENDANT PRICEWATERHOUSECOOPERS LLP’S MOTION
                          FOR SUMMARY JUDGMENT
            Case 3:18-cv-02615-AGT Document 100-6 Filed 03/19/19 Page 2 of 4




 1
 2                       DECLARATION OF ALEXANDER G. CABECEIRAS
 3   I, Alexander G. Cabeceiras, declare as follows:
 4      1. I am an attorney at law duly licensed to practice before the courts in the State of New
 5
            York, New Jersey and Connecticut, and duly admitted to appear pro hac vice before this
 6
            Court. I am an attorney at the Derek Smith Law Group, PLLC, and counsel of record for
 7
 8          Plaintiff Mauro Botta (“Botta”) in this action. I have personal knowledge of the facts set

 9          forth in this Declaration.
10
        2. Attached as Exhibit 1 is a true and correct copy of excerpts from the deposition of Mauro
11
            Botta.
12
13      3. Attached as Exhibit 2 is a true and correct copy of excerpts from the deposition of Tye
14          Thorson.
15
        4. Attached as Exhibit 3 is a true and correct copy of excerpts from the deposition of
16
17          Shawna Hewitt.

18      5. Attached as Exhibit 4 is a true and correct copy of excerpts from the deposition of Robert
19
            Heatley
20
        6. Attached as Exhibit 5 is a true and correct copy of excerpts from the deposition of Traci
21
22          B. Nelson.

23      7. Attached as Exhibit 6 is a true and correct copy of excerpts from the deposition of Stig
24
            Haavardtun.
25
        8. Attached as Exhibit 7 is a true and correct copy of excerpts from the deposition of Kevin
26
27          Baldwin.

28      9. Attached as Exhibit 8 is a true and correct copy of a letter from Jason T. Brown, Esq. to
29
            Defendant PwC’s Counsel A. Mari Mazour sent on July 5, 2017.
30
     DECLARATION OF ALEXANDER G. CABECEIRAS IN SUPPORT OF PLAINTIFF’S
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                         FOR SUMMARY JUDGMENT
          Case 3:18-cv-02615-AGT Document 100-6 Filed 03/19/19 Page 3 of 4




 1    10. Attached as Exhibit 9 is a true and correct copy of the employment agreement between
 2       Plaintiff and Defendant PwC.
 3
      11. Attached as Exhibit 10 is a true and correct copy of the Department of Labor’s decision
 4
 5       in Zinn v. American Commercial Lines Inc., DOL Ad. Rev. Bd. ARB CASE NO. 10-029;

 6       ALJ CASE NO. 2009-SOX-025, p. 12-13 (March 28, 2012).
 7
      12. Attached as Exhibit 11 is a true and correct copy of e-mail correspondence between
 8
         Plaintiff and Congresswoman Zoe Lofgren’s office.
 9
10    13. Attached as Exhibit 12 is a true and correct copy of the Tip, Complaint or Referral Form

11       Plaintiff submitted to the Securities and Exchange Commission (“SEC”).
12
      14. Attached as Exhibit 13 is a true and correct copy of an excerpt of Defendant PwC’s
13
         Responses and Objections to Plaintiff’s Request for Production of Documents,
14
15       Production No. 98
16    15. Attached as Exhibit 14 is a true and correct copy of an Order Instituting Administrative
17
         Proceedings by the SEC against Mayank Gupta.
18
      16. Attached as Exhibit 15 is a true and correct copy of entries made by Justin Wallace on
19
20       Plaintiff’s retaliation complaints.
21    17. Attached as Exhibit 16 is a true and correct copy of correspondence between Plaintiff
22
         and the Public Company Account Oversight Board and between Plaintiff and the
23
24       California Board of Accountancy.

25    18. Attached as Exhibit 17 is a true and correct copy of a negative review PwC gave
26
         Plaintiff, followed by Plaintiff’s comments to the review.
27
      19. Attached is Exhibit 18 is a true and correct copy of Plaintiff’s Responses to Defendant
28
29       PwC’s Second Set of Interrogatories.

30
     DECLARATION OF ALEXANDER G. CABECEIRAS IN SUPPORT OF PLAINTIFF’S
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                         FOR SUMMARY JUDGMENT
          Case 3:18-cv-02615-AGT Document 100-6 Filed 03/19/19 Page 4 of 4




 1    20. Attached is Exhibit 19 is a true and correct copy of Plaintiff’s Responses to Defendant
 2       PwC’s First Request to Admit.
 3
      21. Attached as Exhibit 20 is a true and correct copy of the SEC’s notification to PwC
 4
 5       regarding their investigation into the Cavium audit.

 6    22. Attached as Exhibit 21 is a true and correct copy of Mr. Botta’s e-mail to Mr. Thorson
 7
         on February 22, 2015, in which Mr. Botta outlines his complaints regarding the Cavium
 8
         audit.
 9
10    23. Attached as Exhibit 22 is a true and correct copy of correspondence between Mr. Tye

11       Thorson and Mr. Timothy Scott.
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      24. Attached as Exhibit 23 is a true and correct copy of entries made by Patricia Lin on
13
         Plaintiff’s retaliation complaints.
14
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         I declare under penalty of perjury that the aforementioned statements are true and correct
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      to the best of my knowledge.
17
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19
20    Executed on this 14th day of February, 2019, in New York, New York.

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                                               /s/ Alexander G. Cabeceiras
22                                             Alexander G. Cabeceiras, Esq.
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     DECLARATION OF ALEXANDER G. CABECEIRAS IN SUPPORT OF PLAINTIFF’S
      OPPOSITION TO DEFENDANT PRICEWATERHOUSECOOPERS LLP’S MOTION
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